      Case 4:16-cr-00279 Document 20 Filed on 08/01/16 in TXSD Page 1 of 1
                                                                                      United States District Court
                                                                                        Southern District of Texas

                                                                                           ENTERED
                       IN THE UNITED STATES DISTRICT COURT                               August 01, 2016
                                                                                        David J. Bradley, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-16-279
                                                  §
                                                  §
ANGELINA GAILEY                                   §
PATRICK GAILEY                                    §

                                                ORDER

       Both defendants Angelina and Patrick Gailey filed unopposed motions for a continuance,

(Docket Entry Nos. 18 and 19 ). The court finds that the interests of justice are served by granting

this continuance and that those interests outweigh the interests of the public and the defendants in

a speedy trial. The motion for continuance is GRANTED. The docket control order is amended as

follows:

       Motions are to be filed by:                     December 16, 2016
       Responses are to be filed by:                   December 30, 2016
       Pretrial conference is reset to:                January 3, 2017 at 8:45 a.m.
       Jury trial and selection are reset to:          January 9, 2017 at 9:00 a.m.


               SIGNED on August 1, 2016, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
